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                             UNITED STATES DISTRICT COURT

                       FOR THE WESTERN DISTRICT OF MICHIGAN


UNITED STATES OF AMERICA,

               Plaintiff,
                                                             Case No. 1:02-cr-18-12
v.
                                                             Hon. Richard Alan Enslen

VINCENTE SANCHEZ JARAMILLO,                                  ORDER

            Defendant.
___________________________________/


       The defendant appeared before this Court on August 8, 2005 and admitted guilt to

Violations One, Two and Three of the conditions of the term of supervised release. Accordingly,

the Court has adjudicated the defendant guilty of these violations.

       THEREFORE, IT IS HEREBY ORDERED that the Defendant is continued on

supervised release under the same terms and conditions previously imposed.

       IT IS FURTHER ORDERED that the Defendant's conditions will be modified to add

the following conditions:

       1.      The defendant shall abstain from all use and/or possession of alcoholic beverages,
               shall not frequent places whose primary purpose is the sale or serving of alcohol.

       2.      The defendant shall reside at the Comprehensive Sanction Center, located in
               Grand Rapids, Michigan, for a period of six (6) months, abiding by all rules and
               regulations of the program.

       3.      The remaining fine balance in the amount of $3,570.00 is due and payable in
               monthly installments as determined by the probation officer.


Dated in Kalamazoo, MI:                                /s/Richard Alan Enslen
August 10, 2005                                       Richard Alan Enslen
                                                      United States District Judge
